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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                      September 16, 2021

BY EMAIL
Carmen Hernandez, Esq.

        Re:     United States v. Pauline Bauer
                Case No. 21-cr-386

Dear Counsel:

        The government has produced the following additional materials in the above captioned
case.

        (1) September 13, 2021 Production

        As part of our ongoing discovery production in this case, on September 13, 2021, you
received an invitation via USAFx to download reports from U.S. Capitol Police (USCP)
investigations of alleged wrongdoing by USCP officers on January 6, 2021. Officer names,
witness names, and complainant names have been redacted. We are working to produce a set of
reports that replaces the redactions with unique identifiers for individuals whose names have
been redacted. When that process is complete, we will reproduce the documents with the unique
identifiers. Additional exhibits from these investigations are forthcoming. At this time, we
understand that a small number of investigations are still on-going, and we will provide reports
of those investigations on a rolling basis as they are concluded.

        Initially, we did not designate this material as sensitive under the Protective Order
entered in this case, however, the government notified you to correct the sensitivity designation.
It was brought to our attention that we inadvertently omitted a redaction to an officer’s name in
the production. If an officer’s name is not redacted, and that officer is a subject of or witness to
the allegation of misconduct, we are designating that information highly sensitive under the
protective order. That means that you should not share the unredacted report with Defendant
Bauer unsupervised unless you redact it. If you have already shared the files with Defendant
Bauer, please ensure that Ms. Bauer knows that the information can only be used consistent with
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the protective order’s rules for handling sensitive materials. If Ms. Bauer breaches the terms of
the protective order, we will need to bring the matter to the prompt attention of the court.

        We have notified you that we have not received Ms. Bauer’s signed copy of the
Protective Order. Please provide.

       (2) September 16, 2021 Production

        On September 16, 2021, we produced the following additional materials via USAFX that
are not designated as sensitive under the protective order. These materials were produced within
the following folders:

   •   File folder labeled “Bauer Discovery #2”
           o Subfolder labeled “Arrest Documents and Indictment” containing the Complaint,
               Statement of Facts, Arrest Warrant Return, and Indictment;
           o Subfolder labeled “Serials – No Sensitivity Designation” containing the following
               43 files:

             File Name
             0176-PG-3396256_0000011.pdf
             0176-PG-3396256_0000011_Import.mp4
             0176-PG-3396256_0000011_1A0000001_0000001.PNG
             0176-PG-3396256_0000011_1A0000002_0000001.PNG
             0176-PG-3396256_0000012.pdf
             0176-PG-3396256_0000018.pdf
             0176-PG-3396256_0000018_1A0000004_0000001.pdf
             0176-PG-3396256_0000018_1A0000004_0000002.PNG
             0176-PG-3396256_0000028.pdf
             0176-PG-3396256_0000028_1A0000008_0000001.pdf
             0176-PG-3396256_0000030.pdf
             0176-PG-3396256_0000030_1A0000009_0000001.pdf
             0176-PG-3396256_0000030_1A0000010_0000001.pdf
             0176-PG-3396256_0000032_Redacted.pdf
             0176-PG-3396256_0000034.pdf
             0176-PG-3396256_0000034_1A0000011_0000001.xlsx
             0176-PG-3396256_0000034_1A0000011_0000002.xlsx
             0176-PG-3396256_0000036.pdf
             0176-PG-3396256_0000036_1A0000012_0000001.pdf
             0176-PG-3396256_0000037.pdf
             0176-PG-3396256_0000037_1A0000013_0000001_PHYSICAL.pdf
             0176-PG-3396256_0000038.pdf
             0176-PG-3396256_0000038_Import.docx
             0176-PG-3396256_0000040.pdf

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             0176-PG-3396256_0000040_1A0000014_0000001_PHYSICAL.pdf
             0176-PG-3396256_0000040_1A0000014_0000002.msg
             0176-PG-3396256_0000041.pdf
             0176-PG-3396256_0000041_Import.pdf
             0176-PG-3396256_0000041_1A0000016_0000001.pdf
             0176-PG-3396256_0000041_1A0000015_0000001.pdf
             0176-PG-3396256_0000042.pdf
             0176-PG-3396256_0000042_1A0000006_0000001_PHYSICAL.pdf
             0176-PG-3396256_0000047.pdf
             0176-PG-3396256_0000047_Import.pdf
             0176-PG-3396256_0000047_1A0000022_0000001.pdf
             0176-PG-3396256_0000048.pdf
             0176-PG-3396256_0000049.pdf
             0176-PG-3396256_0000049_1A0000023_0000001.jpg
             0176-PG-3396256_0000049_1A0000023_0000002.jpg
             0176-PG-3396256_0000049_1A0000023_0000003.jpg
             0176-PG-3396256_0000049_1A0000023_0000004.jpg
             0176-PG-3396256_0000049_1A0000023_0000005.jpg
             0176-PG-3396256_0000055.pdf

        The government has compiled additional materials designated as sensitive and highly
sensitive under the Protective Order, including USCP CCTV, however, due to the Defendant’s
clear statement that she will not agree to the terms of the Protective Order and the Government’s
concerns about the highly sensitive nature of these materials, the Government will provide the
materials after it receives the Defendant’s signed Attachment A to the Protective Order.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       This material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
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defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,


                                                     /s/ Amanda Fretto
                                                     Amanda Fretto
                                                     Assistant United States Attorney

Cc: Pauline Bauer




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